IN THE UNITED STATES DISTRICT COURT 2 | IL, [= i)

FOR THE DISTRICT OF KANSAS

JUL 08 2022
David W. Thayer; ) Cl ict Court
) oy Ns Clerk
Plaintiff, )
vs. )
)
Laura Howard; Lesia Dipman; Jeff Brown; Keri) Case No.: ___22-3086-SAC
Applequist; Haleigh Bennett; Linda Kidd; Jason _)
Fisher )
Defendant(s). )

 

MOTION FOR EXTENSION OF TIME

COMES NOW, Plaintiff David W. Thayer, pro-se, and requests an extension of time in which to
file his amended complaint. Plaintiff respectfully requests an additional 30 days, up to and including
August 5, 2022, in which to respond to this court's order. In support thereof, Plaintiff states and alleges
the following:

1. On May 19, 2022, this court issued an order for Plaintiff to file an amended complaint listing all

 

intended defendants by June 13, 2022. Doc. No. 4. This court extended the time to July 4,
2022, because the Plaintiff failed to timely respond. Doc. No. 5. Plaintiff's amended petition |
was received by the court on June 15, 2022 but, still failed to list all the intended Defendants.

2. On June 16, 2022, this court again ordered Plaintiff to amend his complaint listing all the
intended Defendants by July 7", 2022, Doc. No. 7. and removed Mr. Newsome as a Plaintiff
due to his failure to sign the amended complaint.

3. Plaintiff states that he is not an attorney and relies heavily on “Jailhouse Lawyers” in which to
help him operate computers, understand legal terminology and verbiage, compose pleadings,

and navigate the complexities of the law. At the time, he relied on Plaintiff Newsome to assist

 

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him in the matter.

4. Plaintiff further advises that Mr. Michael Chubb intends to request joinder as a Plaintiff party
pursuant to U.S.C.S. Federal Rules of Civil Procedures, Rule 18, which states: “[a] party
asserting a claim, counterclaim, crossclaim, or third-party claim may join, as independent or
alternative claims, as many claims as it has against an opposing party.”

5. Plaintiff Michael Chubb, alleges that, pursuant to U.S.C.S. Federal Rules of Civil Procedures,
Rule 19, he is an interested party relating to the subject of the action and is similarly situated so
that disposing of the action in his absence may leave the Defendants subject to a substantial risk
of incurring double, multiple, or otherwise inconsistent obligations because of the interest.

6. Compulsory joinder issue under Rule 19 Nis sufficiently important that it can be raised at any

stage of the proceedings -- even sua sponte." McCowen v. Jamieson, 724 F.2d 1421, 1424 (9th
Cir. 1984).

7. Plaintiff David Thayer, continues to rely on “Jailhouse Lawyers” to help him amend and
compile his pleadings in order to comply with this courts order and all other legal requirements.
Therefore, Plaintiff Michael Chubb will assist him to the best of his ability in completing this
task in accordance with this courts orders unless or until this court finds that appointment of
counsel is necessary to assist the Plaintiffs in the complexities of the issues.

8. No parties will be prejudiced by the delay and joinder of parties to this matter.

WHEREFORE, Plaintiff respectfully requests an additional 30 days, up to and including August

5, 2022, in which to allow Mr. Chubb to request joinder pursuant to Rule 18 and to file an amended
complaint.

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Lf ao th) J). Mg
David W. Thayer
1301 KS 264 Highway
Larned, Kansas 67550
620-285-4660 Ext. 1

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CERTIFICATE OF SERVICE

Plaintiff, David Thayer, certifies on this_Thursday, July 05, 2022, a copy of the forgoing
“Motion for Extension of Time” was mailed first class to the recipients listed below in a properly
addressed sealed envelope with first-class postage attached thereto by giving it to the staff of Larned
State Hospital in accordance with facility policy to effectuate delivery by the US Postal Service, City of
Larned, State of Kansas.
US District Court, Court Clerk
444 SE Quincy Rm. 490

Topeka, KS
66683

(1 Copy)

David W. Thayer, pro‘se.
1301 KS Hwy 264
Larned, KS. 67550
620-285-4660 Ext. 1

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